      Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 1 of 23




                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 MARK ANDREWS,
              Plaintiff,
                                                  Case No. 1:22-CV-04259-SDG
 v.
 DINESH D’SOUZA, TRUE THE VOTE,
 INC., CATHERINE ENGLEBRECHT,
 GREGG PHILLIPS, D’SOUZA MEDIA
 LLC, SALEM MEDIA GROUP, INC.,
 REGNERY PUBLISHING, INC., and
 JOHN DOES,
              Defendants.

      TRUE THE VOTE DEFENDANT’S SUPPLEMENTAL BRIEF ON
                  FIRST AMENDMENT ISSUES

                                  Introduction

      Plaintiff’s Response to the True the Vote Defendants’ Motion to Dismiss

(Dkt. 70 or “Response”) essentially argues that there is no First Amendment

restraint at all imposed on either the VRA or KKK Act. However, the Supreme

Court recently rejected that position in Counterman v. Colorado, ___ S.Ct. ____,

2023 WL 4187751 (2023). Amicus Campaign Legal Center more squarely

addresses the issues connected with the “true threat” exception to speech protected

by the First Amendment, arguing that, legally, Plaintiff’s allegations regarding

Defendants’ speech do constitute true threats. But Amicus’ arguments — also

rejected by Counterman — are that (1) only an objective examination of the alleged
      Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 2 of 23




true threat – that is, what a reasonable plaintiff would think - is constitutionally

required, and (2) the purported true threat at issue does not need to consist of a threat

of violence. Below we elaborate on how Counterman has rejected all these

arguments so that (1) in intimidation cases, a plaintiff must plead not only that he

or she was reasonable in his or her intimidation but that the defendant possessed the

scienter of knowingly or recklessly causing that intimidation, and (2) for speech to

lose First Amendment protection on grounds it is a true threat, that threat must

involve violence.

        I.   Plaintiff’s First Amendment Arguments Must Fail.

      Plaintiff’s principal argument is that “much of Defendants’ conduct falls

within a categorical exemption from the First Amendment because it is defamatory.”

(Dkt. 70 at 22-23) (citing United States v. Alvarez, 567 U.S. 709, 716 (2012)

(recognizing defamation as categorically excepted). Plaintiff argues that “the

defamation forms a core part of the alleged voter intimidation. [T]his type of

allegation—threats of ‘consequences’ for voting coupled with false accusations of

voter fraud or other crimes—is a common form of voter intimidation.” (Dkt. 70 at

23). That is, Plaintiff is accusing the TTV Defendants of “voter intimidation through

defamation” as a result of which, according to Plaintiff, Defendants “have no First

Amendment defense for their actions, regardless of whether the defamation also

falls into another categorically excluded category.”


                                       Page 2 of 23
      Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 3 of 23




      Plaintiff unequivocally (and inaccurately) asserts, in his Response, that

“Defendants Do Not Need To Make ‘True Threats’ To Be Liable For Voter

Intimidation.” (Dkt. 70 at 25). Of fundamental importance, Plaintiff concedes no

Defendant made a true threat here, but, rather, that Defendants were merely

negligent in their speech and are liable for the resulting acts of third parties:

      Mr. Andrews has not alleged that the TTV Defendants, or any of the
      named Defendants, have made “true threats” of the type
      categorically excluded from First Amendment protection. Cf.
      Alvarez, 567 U.S. at 716 (recognizing “true threats” as a categorical
      exception). Rather, Mr. Andrews has alleged that threats made
      against him by third parties (whether “true threats” or otherwise) are
      the natural and foreseeable consequence of Defendants’ actions, and
      Defendants are thus liable for the resultant voter intimidation based
      on standard causation principles. This is a question of statutory
      interpretation of the terms “intimidate, threaten, or coerce” in
      Section 11(b) and “force, intimidation, or threat” in Section 1985(3)
      clause 3, and of causation as it applies to those standard statutory
      terms; it is not a question of “true threats” under the First
      Amendment.

(Dkt. 70 at 26).

      Even assuming this meets the legal requirements for liability under the

respective statutes, the “natural and foreseeable consequences” formula used here

by Plaintiff essentially articulates a negligence standard — except that (1) the

intervention of a third party cuts off a negligence claim and (2) Counterman rejects

the negligence standard outright.




                                      Page 3 of 23
      Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 4 of 23




       II.   Amicus Campaign Legal Center Incorrectly States True Threats
             Need Not Threaten Violence and Argues a Negligence Standard
             Rejected by Counterman.

      Perhaps recognizing the thinness of Plaintiff’s arguments, Amicus directly

addresses the issue of whether Defendants’ actions constitute true threats. However,

Amicus’ incorrectly states that (1) no threat of physical violence is required in order

to support a finding of a true threat and (2) the true threat exception to First

Amendment protection of speech may be proved without any need to show the

subjective state of mind of the speaker:

      “[W]hether or not the person making a threat intends to cause harm, the
      damage is the same.” Elonis v. United States, 575 U.S. 723, 746 (2015)
      (Alito, J., concurring). Moreover, “non-physical injury likely falls
      within the purview of a ‘true threat.’” NCBCP III, 2023 WL 2403012,
      at *24 (citing Virginia, 538 U.S. at 359). Such threats are evaluated in
      “the context of [the] entire course of conduct,” and “the sheer number
      and frequency of the messages” is an important factor. United States v.
      Fleury, 20 F.4th 1353, 1365-66 (11th Cir. 2021). Because neither the
      specific intent to carry out the threat nor to make Plaintiff fearful is
      required, id. at 1372, Defendants’ purported non-threatening motive is
      irrelevant.

Dkt. 91 at 30.

      Referring to what it calls “Plaintiff’s plausible allegations that Defendants

acted at least recklessly put Plaintiff in reasonable fear and subjected him to real

threats of prosecution and investigation,” Amicus gives a nod to an argument

Defendants were reckless in their speech, but, stuck with the actual allegations of



                                      Page 4 of 23
      Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 5 of 23




Plaintiff’s FAC, Amicus is able to cite only to claims of negligence. The allegations

Amicus cites from Plaintiff’s FAC consist only of the TTV Defendants’ speech, in

the “2000 Mules” film (and other Defendants’ in the book), that the votes cast by

Plaintiff were “fraudulent,” consisted of “ballot trafficking,” and constituted

“organized crime.” FAC ¶¶ 39, 42, 43, 74. The final paragraph of the FAC cited by

Amicus, in support of a pleading of Defendants acting recklessly, ¶ 198, reads in its

entirety:

      Defendants’ actions have had the predictable and foreseeable
      consequence of leading to threats of physical harm—including death
      threats — against Mr. Andrews and his family by Defendants’
      followers . . .

(emphasis added). In short, Plaintiff alleges that third parties’ threats of physical

harm were merely “foreseeable”, and that Defendants were thus merely negligent

in their speech. Before we turn to Counterman’s rejection of these arguments, we

first dispose of the notion that Plaintiff has alleged Defendants are liable for any

conduct other than speech.

      III.   Plaintiff’s FAC Complains of No Conduct Separate from Speech.

      Both Plaintiff and Amicus argue that Defendants’ speech at issue in this case

is merely integral to illegal conduct, citing Norwegian Cruise Line Holdings Ltd. v.

State Surgeon Gen., Fla. Dep’t of Health, 50 F.4th 1126, 1135 (11th Cir. 2022) and

National Coalition on Black Civic Participation v. Wohl, 2023 WL 2403012 at *26 (S.D.N.Y.

Mar. 8, 2023) (“NCBCP III”). Norwegian Cruise Lines, we would note, regards a

                                       Page 5 of 23
      Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 6 of 23




Florida statute requiring customers to present COVID-19 documentation that the

court characterized as regulating “non-expressive economic conduct.” (emphasis

added). NCBCPIII is a case involving actual conduct: persons who sent robocalls

containing false information intended to scare recipients from voting by mail. The

NCBCPIII court specifically rejected the defendants’ request in that case to include

an intent requirement to a finding of liability under the voter intimidation statutes.

      However, Plaintiff identifies nothing at issue here but Defendants’ speech,

and Plaintiff’s FAC fails to specify any separate conduct Defendants’ speech is

purportedly facilitating. Indeed, Plaintiff’s principal complaint is defamation

which, by definition, concerns speech, not conduct. This becomes abundantly clear

when one employs the test for expressive conduct.

      IV.    Any “Conduct” By Defendants Was Expressive Conduct Subject
             to First Amendment Protection.

      “To    determine     ‘whether    particular    conduct   possesses    sufficient

communicative elements to bring the First Amendment into play,’ the two-part

Johnson test asks: (1) ‘whether [a]n intent to convey a particularized message was

present,’ and (2) whether ‘the likelihood was great that the message would be

understood by those who viewed it.’” Burns v. Town of Palm Beach, 999 F.3d 1317,

1336–37 (11th Cir. 2021) (quoting Texas v. Johnson, 491 U.S. 397, 404, (1989)).

      “Constitutional protection for freedom of speech ‘does not end at the spoken

or written word.’” Fort Lauderdale Food Not Bombs v. City of Fort Lauderdale,

                                      Page 6 of 23
        Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 7 of 23




901 F.3d 1235, 1240 (11th Cir. 2018) (quoting Johnson, 491 U.S. at 404). The

Eleventh Circuit articulates the requirements for expressive conduct to be protected

by the First Amendment: (1) the communicator intended “to convey a particularized

message” and (2) a “great” “likelihood” that others would understand a message

was being communicated. Burns, 999 F.3d at 1336 (quoting Johnson, 491 U.S. at

404).

                 A. The TTV Defendants Intended to, and Did, Convey a
                    Particularized Message about the Dangers of Unregulated
                    Ballot Boxes.

        The film itself, as well as the interviews in connection with it and petitions

to governmental bodies made consistent with it, is undeniably expressive conduct,

individually and collectively. See Fort Lauderdale, 901 F.3d at 1242–43

(discussing multiple “food sharing” events and different communicative conduct

present in the events, such as inviting the public and distributing pamphlets, setting

up tables, and having banners). Indeed, unlike every case cited by Plaintiff on this

issue, Defendants did not target their message to Plaintiff, but to the larger public.

That message was that Americans should be concerned about election procedures

that fail to provide adequate assurances of ballots’ chain of custody, and that thus

can leave ballot boxes open to manipulation.

        Indeed, as Plaintiff’s FAC makes clear, the message of “2,000 Mules”, in

which Plaintiff briefly appears, was so particularized, so well understood as a


                                       Page 7 of 23
      Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 8 of 23




forceful claim in the public square, that it has been widely debated and commented

upon, with opinions ardently supporting and opinions strongly attacking the

movie’s interpretation of the various factual premises.

                 B. The FAC Shows Viewers of “2000 Mules” and its
                    Promotional Videos Clearly Understood the Message the
                    TTV Defendants Sought to Convey.

      The second requirement to find expressive conduct is that there is a great

likelihood of viewers’ perceiving a message was being communicated by

Defendants’ conduct. The Eleventh Circuit has identified five factors to consider in

this analysis: (1) if the conduct at issue is distinguishable from actions in everyday

life, such as “set[ting] up tables and [a] banner, and distribut[ing] literature,” (2) if

the public had access to the conduct, (3) the location of the acts, such as in a public

city park or other traditional public forum, (4) if the conduct involved “an issue of

concern in the community,” and (5) if the conduct historically has been a type that

communicates a message. Fort Lauderdale, 901 F.3d at 1242–43.

      Drawing directly from the FAC, we may apply these factors, to a film whose

controversial scenes were taken from footage distributed by Gwinnett County

without editing or redactions, as follows: (1) what is at issue here is a film and not

everyday life, (2) the film is publicly available — indeed, so available that Plaintiff

has gone to great lengths to detail, and complain about, its reach, (3) the film is

readily accessible in movie theaters and is available for anyone to download or


                                       Page 8 of 23
      Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 9 of 23




watch streaming, (4) the issue treated in the film, the validity of the 2020 election

and possible election fraud, is unquestionably an issue of concern in the community,

and (5) making a film is historically the type of conduct that communicates a

message; it is expressive speech.

      This is not an instance where the expressive component of an action is created

by the conduct itself. See, e.g., Rumsfeld v. F. for Acad. & Institutional Rts., Inc.,

547 U.S. 47, 66 (2006). The Rumsfeld limitation is informed by the fear that “[i]f

combining speech and conduct were enough to create expressive conduct, a

regulated party could always transform conduct into ‘speech’ simply by talking

about it.” Id. Rather, here there is simply Defendants’ speech to which Plaintiff

attempts to impute conduct without offering anything but instances of things

Defendants said.

       V.    Before Counterman, Whether True Threats Required Intent to
             Intimidate or Threats of Violence Was Unsettled.

      Until 2003, Plaintiff’s proposed objective foreseeability test, under which a

state prosecutor had to prove that a reasonable person would interpret the

defendant’s threatening speech as a serious threat before the defendant may be

punished for the speech, was universally acknowledged by federal courts as the

proper constitutional standard for identifying punishable true threats under the First

Amendment. See Doe v. Pulaski County Special School District, 306 F.3d 616, 622

(8th Cir. 2002) (“[a]ll the [federal circuit courts of appeals] to have reached the

                                     Page 9 of 23
     Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 10 of 23




issue have consistently adopted an objective test that focuses on whether a

reasonable person would interpret the purported threat as a serious expression of an

intent to cause a present or future harm”).

      However, this general consensus was shaken by the decision of the United

States Supreme Court in Virginia v. Black, 538 U.S. 343 (2003) which led to a split

in authority among the federal circuit courts of appeals about whether the true

threats doctrine requires proof of a defendant’s subjective intent to intimidate the

recipient of the threat or, instead, merely requires proof of objective foreseeability.

In Black, the court considered the constitutionality of a Virginia statute providing

in relevant part that “[i]t shall be unlawful for any person or persons, with the intent

of intimidating any person or group of persons, to burn, or cause to be burned, a

cross on the property of another, a highway or other public place.” Id. at 348

(internal quotation marks omitted.) A majority of the court observed that “‘[t]rue

threats’ encompass those statements where the speaker means to communicate a

serious expression of an intent to commit an act of unlawful violence to a particular

individual or group of individuals.” Id. at 359 (emphasis added). The majority

further observed that “[i]ntimidation in the constitutionally proscribable sense of

the word is a type of true threat, where a speaker directs a threat to a person or group

of persons with the intent of placing the victim in fear of bodily harm or death.” Id.

at 360 (emphasis added). Accordingly, the majority concluded that “[t]he First


                                      Page 10 of 23
      Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 11 of 23




Amendment permits Virginia to outlaw cross burnings done with the intent to

intimidate ....” Id. at 363.

       A plurality of the court also held, however, that a provision of the Virginia

statute stating that “[a]ny such burning of a cross shall be prima facie evidence of

an intent to intimidate a person or group of persons” was unconstitutional on its face

because it did not differentiate between cross burnings that were intended to

intimidate and other cross burnings and, therefore, “would create an unacceptable

risk of the suppression of ideas.” Id. at 363–66 (internal quotation marks omitted).

       Several courts concluded that the statement of the majority in Virginia v.

Black, 538 U.S. at 360, that “a threat to a person or group of persons with the intent

of placing the victim in fear of bodily harm or death” constitutes a true threat,

combined with the statement of the plurality suggesting that the finder of fact must

determine whether the defendant “intended to intimidate,” id. at 367, showed that

the Supreme Court intended to adopt a specific intent standard. See, e.g., United

States v. Martinez, 736 F.3d 981, 987 (11th Cir. 2013) (under Black, “intimidation

is but one type of true threat,” and the Court did not intend to require specific intent

to intimidate for all true threats), vacated on other grounds, ––– U.S. ––––, 135 S.

Ct. 2798 (2015). We would note in this connection that the objective standard – that

a reasonable person would regard defendant’s speech – is essentially a negligence

standard. See Elonis v. United States, 575 U.S. 723, 738 (2015) (concluding with


                                      Page 11 of 23
     Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 12 of 23




“reluctan[ce] to infer that a negligence standard was intended in criminal statutes”).

      There also developed a question of whether threatening to take non-violent

action can be a true threat. Compare Aubin v. Columbia Cas. Co., 272 F. Supp. 3d

828, 834 (M.D. La. 2017) (“Threatening to take non-violent action does not

constitute a ‘true threat.’”) and Seals v. McBee, No. CV 16-14837, 2017 WL

3252673, at *4 (E.D. La. July 31, 2017), aff’d, 898 F.3d 587 (5th Cir. 2018), as

revised (Aug. 9, 2018) (“Threats to take lawful, non-violent action are not ‘true

threats’ or any other category of speech that has not historically been protected by

the First Amendment.”) with National Coalition on Black Civic Participation v.

Wohl, 498 F. Supp. 3d 457, 479 (S.D.N.Y. 2020) (“NCBCP I”) (“This Court does

not interpret the Supreme Court’s analysis in Black to suggest that the government

can ban only threats of physical harm. The threat of severe nonbodily harm can

engender as much fear and disruption as the threat of violence.”).

      VI.    The Supreme Court Has Now Made Clear Defendants’ Speech
             Cannot Qualify for the True Threats Exception to First
             Amendment Protection Unless It Involved Threats of Violence.

      Counterman rejected both the argument that a party may prove the “true

threats” exception to the First Amendment solely by the objective test (the Court

created a standard requiring the defendant’s knowledge or recklessness), and the

argument that true threats may include threats of non-violent actions (they may not).

The following excerpt encapsulates the Court’s analysis:


                                     Page 12 of 23
     Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 13 of 23




             “True threats” of violence is another historically unprotected
      category of communications. Virginia v. Black, 538 U.S. 343, 359,
      123 S.Ct. 1536, 155 L.Ed.2d 535 (2003); see United States v. Alvarez,
      567 U.S. 709, 717–718, 132 S.Ct. 2537, 183 L.Ed.2d 574 (2012)
      (plurality opinion). The “true” in that term distinguishes what is at
      issue from jests, “hyperbole,” or other statements that when taken in
      context do not convey a real possibility that violence will follow (say,
      “I am going to kill you for showing up late”). Watts v. United States,
      394 U.S. 705, 708, 89 S.Ct. 1399, 22 L.Ed.2d 664 (1969) (per curiam).
      True threats are “serious expression[s]” conveying that a speaker
      means to “commit an act of unlawful violence.” Black, 538 U.S. at
      359, 123 S.Ct. 1536. Whether the speaker is aware of, and intends to
      convey, the threatening aspect of the message is not part of what makes
      a statement a threat, as this Court recently explained. See Elonis v.
      United States, 575 U.S. 723, 733, 135 S.Ct. 2001, 192 L.Ed.2d 1
      (2015). The existence of a threat depends not on “the mental state of
      the author,” but on “what the statement conveys” to the person on the
      other end. Ibid. When the statement is understood as a true threat, all
      the harms that have long made threats unprotected naturally follow.
      True threats subject individuals to “fear of violence” and to the many
      kinds of “disruption that fear engenders.” Black, 538 U.S. at 360, 123
      S.Ct. 1536 (internal quotation marks omitted).

Counterman, 2023 WL 4187751, *4 (underscore emphases added).

      The majority opinion in Counterman, the concurrence, and the dissent are all

in accord that the true-threats exception to First Amendment protection applies only

to true threats of violence. We have already underscored the Counterman majority’s

references to the need for a threat of violent behavior in the above excerpt. The

concurrence, quoting Black, similarly defines true threats as “statements where the

speaker means to communicate a serious expression of an intent to commit an act

of unlawful violence.” Id. at *13. The dissent’s analysis is even more pointed.

      First, only a very narrow class of statements satisfies the definition of a

                                     Page 13 of 23
     Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 14 of 23




      true threat. To make a true threat, the speaker must express “an intent
      to commit an act of unlawful violence.” Black, 538 U.S. at 359,123
      S.Ct. 1536 (emphasis added). Speech that is merely “offensive,”
      “‘poorly chosen,’” or “unpopular” does not qualify. Brief for Petitioner
      31, 36, 42. The statement must also threaten violence “to a particular
      individual or group of individuals” -- not just in general. Black, 538
      U.S. at 359, 123 S.Ct. 1536. These tight guardrails distinguish true
      threats from public-figure defamation, the model for the Court’s rule.
      While defamatory statements can cover an infinite number of topics,
      true threats target one: unlawful violence.

Id. at *22 (emphasis added by Justice Barrett).

     VII.    Counterman Ruled That Recklessness is Part of the Burden
             of Proof to Establish the True Threats Exception or
             Intimidation.

      The Supreme Court in Counterman clarified why Plaintiff’s claims of

the TTV Defendants’ negligent speech regarding his appearance in a video

clip must fail:

      . . . the First Amendment may still demand a subjective mental-state
      requirement shielding some true threats from liability. The reason
      relates to what is often called a chilling effect. Prohibitions on speech
      have the potential to chill, or deter, speech outside their boundaries. A
      speaker may be unsure about the side of a line on which his speech
      falls. Or he may worry that the legal system will err, and count speech
      that is permissible as instead not.

Id. at *4. Counterman holds that the required “subjective mental-state requirement”

is recklessness, specifically stating that “recklessness is morally culpable conduct,

involving a ‘deliberate decision to endanger another.’” Id. at *6. “In the threats

context, it means that a speaker is aware ‘that others could regard his statements as’

threatening violence and ‘delivers them anyway.’” Id. (citing Elonis, 575 U.S. at

                                     Page 14 of 23
     Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 15 of 23




746, 135 S.Ct. 2001 (Alito, J., concurring in part and dissenting in part).

      A. Counterman Requires Recklessness of Civil Intimidation Claims.

      While Counterman analyzes a criminal statute, its standard applies with full

force to civil actions. In language as applicable to Section 11(b) as to true threats,

the Court explained, “Prohibitions on speech have the potential to chill, or deter,

speech outside their boundaries. A speaker may be unsure about the side of a line

on which his speech falls. Or he may worry that the legal system will err, and count

speech that is permissible as instead not. Or he may simply be concerned about the

expense of becoming entangled in the legal system. The result is ‘self-censorship’

of speech that could not be proscribed—a ‘cautious and restrictive exercise’ of First

Amendment freedoms.” Id. at *6-7 (citations omitted).

      The dissent by Justice Barrett also makes clear that “this case is about the

scope of the First Amendment, not the interpretation of a criminal statute.

Accordingly, the Court’s holding affects the civil consequences for true threats just

as much as it restricts criminal liability.” Id. at *25. Moreover, in this case, as in a

criminal case, Plaintiff is exercising the power of the state against Defendants. For

example, Amicus claims that the Defendants’ “alleged intimidation ‘inflicts harm

upon the broader public’s interest in selecting elected officials through a free and

fair process.’” Dkt. 91 at 29 (citing NCBCP I, 498 F. Supp. 3d at 488). Indeed,




                                      Page 15 of 23
      Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 16 of 23




Plaintiff here is asserting 1 little more than a general interest in seeing “that the

Nation’s laws are faithfully enforced.” See Steel Co. v. Citizens for Better Env’t.,

523 U.S. 83, 107 (1998). Plaintiff is effectively acting as an arm of the executive

branch.

       B. Plaintiff Fails to Plausibly and Specifically Allege Recklessness in the
          TTV Defendants’ Statements About His Depositing of Ballots.

       As set out above, Plaintiff’s FAC pleads, at best, a negligence standard, as

we may see in his language that “threats made against him by third parties (whether

‘true threats’ or otherwise) are the natural and foreseeable consequence of

Defendants’ actions.” Moreover, as discussed in further detail below, the actions of

third parties normally cut off an action for negligence. In any event, merely alleging

negligent conduct no longer passes muster following Counterman.

       Nor do Plaintiff’s pro forma mentions of “recklessness” in his FAC plausibly

state a non-conclusory claim that the TTV Defendants behaved recklessly in making

the only statements that are the subject of Plaintiff’s causes of action: those relating

to the video image of a figure (later identified as Plaintiff) depositing multiple

ballots in a ballot box. Plaintiff’s eleven (11) mentions of “Defendants’” alleged

recklessness about that image fail because:


1
  Indeed, Plaintiff states in his Response to the TTV Defendants’ Motion to Dismiss (Dkt. 70) that
“Section 11(b) would be permissible here because it advances the government’s compelling
interest in safeguarding free and fair elections and protecting against voter intimidation.” Plf.
Resp. at 19, n.5

                                          Page 16 of 23
  Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 17 of 23




1. fully 9 of them constitute group pleading that refers only to “Defendants”

   and thus lack the required specificity regarding the TTV Defendants’ alleged

   recklessness, see FAC ¶¶15, 99, 103, 104, 124, 128, 169, 286, 301, while the

   2 mentions that do properly avoid group pleading explicitly refer to other

   Defendants, ¶115 (referring to Mr. D’Souza), 116 (same);

2. they are also impermissibly conclusory, ¶15 (“The reckless and false

   allegations that Mr. Andrews engaged in voter fraud constitute textbook

   cases of defamation, false light, and appropriation of likeness under Georgia

   law”); ¶99 (“Defendants knew of the falsity of their statements about Mr.

   Andrews, and/or acted with reckless disregard as to the falsity of those

   statements”), ¶ 169 (conclusory statement), ¶ 286 (same), ¶ 301 (same);

3. they also amount to no more than Plaintiff’s counsel’s amateur film

   criticism, in which counsel irrelevantly deems as reckless claims or

   conclusions in the film about matters other than the specific image and

   narration affecting Plaintiff himself, such as Defendants’ statements about

   geolocation data, use of computers, or general claims of election fraud, see

   id., ¶¶100-110;

4. they also purport to deem as “facts”, binding on the TTV Defendants’ speech,

   the opinions of other parties, ¶¶103-104, 107, 124, including government

   entities, ¶¶128-129, 131 (referring to irrelevant actions of Georgia Bureau of


                                 Page 17 of 23
     Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 18 of 23




      Investigations and the State Elections Board).

      But none of these group-pleading allegations sets out facts alleging the

recklessness of the TTV Defendants’ statements about the only speech complained

of in Plaintiff’s causes of action, which consisted solely of speech about a video of

an unidentified figure depositing a handful of ballots into a ballot box. Accordingly,

Plaintiff’s FAC fails to allege a cause of action under the voter intimidation statutes

that the TTV Defendants’ alleged negligent speech constitutes “true threats”

excepted from the protection of the First Amendment.

    VIII.    There is No Defamation-as-Intimidation Exception to Protected
             Speech.

       What remains after the foregoing analysis is only Plaintiff’s claim that

 Defendants’ speech at issue in this lawsuit falls within the defamation exception

 to First Amendment-protected speech for purposes of the voter intimidation

 statutes. And, indeed, defamation appears to be the thrust of his intimidation

 argument. Plaintiff and Amicus both argue and cite to authority holding that

 subjecting a person to “public opprobrium”— that is, harm from defamation – is

 sufficient to show intimidation under the voter suppression statutes, citing, for

 example, LULAC v. Public Interest Legal Foundation, No. 1:18-cv-00423, 2018

 WL 3848404 *4 (E.D. Va. 2018) (“Defendants have linked Plaintiffs’ names and

 personal information to a report condemning felonious voter registration in a clear

 effort to subject the named individuals to public opprobrium. Defendants’

                                     Page 18 of 23
     Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 19 of 23




 suggestion that more is needed to support a finding of intimidation is untenable.”).

 However, this defamation-as-intimidation analysis is flawed.

       For example, in the case of Brewington v. State, 7 N.E.3d 946 (Ind. 2014),

 the defendant was indicted for intimidating his divorce judge for “communicating

 a threat to” the Judge. However, the statute at issue included in its definition of

 “threat” the following items:

       (6) expose the person threatened to hatred, contempt, disgrace, or ridicule;
       (7) falsely harm the credit or business reputation of the person threatened;

Id. at 958. Confronted with this, the Indiana Supreme Court held:

      [O]ur inquiry cannot end with the statutory definition. As amici point
      out, subpart (c)(6) parallels the classic common-law definition of
      defamation, and (c)(7) reflects a particular type of defamation. E.g.,
      Armentrout v. Moranda, 8 Black. 426, 427 (Ind.1847) (“A libel is said
      to be a malicious defamation expressed in printing or writing ..., tending
      to injure the reputation of another, and thereby exposing such person to
      public hatred, contempt, or ridicule.”); Johnson v. Stebbins, 5 Ind. 364,
      366–67 (1854) (“Any publication that tends to degrade, disgrace, or
      injure the character of a person, or bring him into contempt, hatred, or
      ridicule, is as much a libel as though it contained charges of infamy or
      crime.”) Subparts (c)(6) and (7), then, essentially criminalize
      defamation by including it in the definition of a punishable “threat.”
      The same constitutional free-speech protections that apply in civil
      defamation cases therefore must also apply to prosecutions under (c)(6)
      and (7).

Id. at 958-59. These same free speech protections must therefore also apply to a

civil action brought under federal anti-intimidation statutes where the plaintiff sues

on the basis of defendants’ allegedly defamatory speech. Importantly, as



                                     Page 19 of 23
     Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 20 of 23




Brewington also sets out:

      The United States and Indiana constitutions afford sweeping
      protections to speech about public officials or issues of public or
      general concern, even if the speech is intemperate or caustic. But there
      is no such protection for “true threats”—including veiled or implied
      threats, when the totality of the circumstances shows that they were
      intended to put the victims in fear for their safety. Fear for one’s
      reputation is often the price of being a public figure, or of involvement
      in public issues. But fear for one’s safety is not.

Id. at 953 (emphases in original). Whether the alleged fear is of safety (as from a

true threat) or the reputational harm of defamation is a fundamental distinction,

made all the more important in this case where Plaintiff has not alleged any actual

reputational damages, but is only (1) generally claiming damages from purportedly

feeling threatened and intimidated and (2) claiming presumed damages based on

the FAC’s allegations that Defendants falsely accused Plaintiff of committing a

crime. As one of their defenses to the Plaintiff’s defamation claim, the TTV

Defendants argue that he is not entitled to presumed damages in a matter involving

legitimate public interest, and therefore there are therefore no proper allegations of

damages at all.

      Of the many First Amendment issues with Plaintiff’s defamation cause of

action (and therefore his causes of action under the voter intimidation statutes that

are founded on defamation), perhaps the most troubling is his easy conclusion of

the foreseeability that third parties will act violently against the Plaintiff based upon

Defendants’ allegedly defamatory speech. Plaintiff is effectively arguing for a

                                      Page 20 of 23
     Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 21 of 23




poorly disguised incitement standard, but incitement must consist of statements

“directed [at] producing imminent lawless action,” and likely to do so.

Brandenburg v. Ohio, 395 U.S. 444, 447, 89 S.Ct. 1827, 23 L.Ed.2d 430 (1969)

(per curiam). In addition to the requirement of being directed at producing imminent

lawless action, incitement requires specific intent. In so requiring, the Supreme

Court recognized that incitement to disorder is commonly a hair’s-breadth away

from constitutionally permissible political “advocacy”—and particularly from

strong protests against the government and prevailing social order. Brandenburg,

395 U.S. at 447, 89 S.Ct. 1827. There is no doubt that the First Amendment protects

mere advocacy of force or lawbreaking from legal sanction, see Counterman at *7,

which Plaintiff does not even allege. Plaintiff’s efforts to prosecute defamation as a

sort of slow-motion incitement will bleed over, directly and indirectly through a

chilling effect, to dissenting political speech at the First Amendment’s core.

                                    Conclusion

      Because Plaintiff has alleged only speech by the TTV Defendants (and not

conduct, or actions), and has not alleged any exceptions to the First Amendment’s

protections for pure speech, such as threats of violence constituting true threats or

defamation, Plaintiff’s claims of intimidation (not to mention defamation) must fail.

Plaintiff has failed to plausibly allege the TTV Defendants were reckless in making

statements of opinion about the disclosed facts of Plaintiff’s appearance on a video


                                     Page 21 of 23
     Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 22 of 23




as he deposits multiple ballots in a ballot box.

                                 Respectfully submitted,

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                                     Page 22 of 23
     Case 1:22-cv-04259-SDG Document 100-1 Filed 08/15/23 Page 23 of 23




                        RULE 7.1(D) CERTIFICATE

       The undersigned counsel certifies that this document has been prepared in

 Times New Roman 14-point font in accordance with Local Rule 5.1.C.

       This 15th day of August, 2023.
                                                /s/ Molly Parmer
                                                MOLLY PARMER
                                                Georgia Bar No. 042537


                       CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the within

and foregoing SUPPLEMENTAL BRIEF ON FIRST AMENDMENT ISSUES

was electronically filed with the Clerk of Court using the CM/ECF system, which

will automatically send email notification of such filing to all attorneys of record

via the CM/ECF system.

       This 15th day of August, 2023.
                                                /s/ Molly Parmer
                                                MOLLY PARMER
                                                Georgia Bar No. 042537




                                    Page 23 of 23
